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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO
                                Chief Judge Marcia S. Krieger

   Civil Action No. 14-cv-02182-MSK-KLM

   UNITED STATES COMMODITY FUTURES TRADING COMMISSION,

          Plaintiff,

   v.

   R2 CAPITAL GROUP, LLC;
   RAST INVESTOR GROUP, LLC;
   MADIGAN ENTERPRISES, INC.;
   BULLETPROOF VEST, INC.;
   RYAN TOMAZIN;
   RYAN MADIGAN; and
   RANDELL A. VEST,

          Defendants.

   ______________________________________________________________________________

                               DEFAULT JUDGMENT
   ______________________________________________________________________________

          PURSUANT TO the Court’s April 11, 2018 Order granting the Plaintiff’s Motion for

   Default Judgment and the proceedings to date, judgment by default is entered in favor of the

   Plaintiff, U.S. Commodity Futures Trading Commission, and against Defendants Randell A.

   Vest and Bulletproof Vest, Inc. (“the Vest Defendants”), as follows:

          1. The Vest Defendants are permanently enjoined from:

                 a. Trading on or subject to the rules of any registered entity (as that
                 term is defined in Section 1a(29) of the Act, 7 U.S.C. § 1a(29));

                 b. Entering into any transactions involving commodity interests (as
                 that term is defined in Regulation 1.3(yy), 17 C.F.R. § 1.3(yy)) for
                 their own personal account or for any account in which they have a
                 direct or indirect interest;

                 c. Having any commodity interests traded on their behalf;
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                 d. Controlling or directing the trading for or on behalf of any other
                 person or entity, whether by power of attorney or otherwise, in any
                 account involving commodity interests;

                 e. Soliciting, receiving or accepting any funds from any person for
                 the purpose of purchasing or selling any commodity interests;

                 f. Applying for registration or claiming exemption from
                 registration with the Commission in any capacity, and engaging in
                 any activity requiring such registration or exemption from
                 registration with the Commission, except as provided for in
                 Regulation 4.14(a)(9), 17 C.F.R. § 4.14(a)(9) (2016); and

                 g. Acting as a principal (as that term is defined in Regulation
                 3.1(a), 17 C.F.R. § 3.1(a) (2016)), agent or any other officer or
                 employee of any person (as that term is defined in Section 1a(38)
                 of the Act, 7 U.S.C. § 1a(38) (2012)), registered, exempted from
                 registration or required to be registered with the Commission
                 except as provided for in Regulation 4.14(a)(9), 17 C.F.R.§
                 4.14(a)(9).

          2. The Vest Defendants shall, jointly and severally, pay restitution in the amount of

   $1,381,454.43.

          3. The Vest Defendants shall, jointly and severally, pay a civil monetary penalty of

   $925,920.

          4. The Plaintiff is awarded costs against the Vest Defendants pursuant to Fed. R. Civ. P.

   54(d)(1).
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          Post-judgment interest on any outstanding sums set forth herein shall accrue pursuant to

   28 U.S.C. §1961, from the date of entry until paid in full.

          Dated this11th day of April, 2018.
                                                         BY THE COURT:




                                                         Marcia S. Krieger
                                                         Chief United States District Judge
